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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE

UNITED STATES OF AMERICA,                  )
                                           )
vs.                                        )       DOCKET NO. 2:21-cr-067-JAW
                                           )
ANDREW HAZELTON                            )


        DEFENDANT’S UNOPPOSED MOTION TO PROCEED BY VIDEO


       NOW COMES Andrew Hazelton, by counsel pursuant to the CARES Act and
requests to proceed by video.


1.     Andrew Hazelton has agreed to plead guilty to the pending indictment. The case is
pending on the court’s August 2, 2021 jury selection list. The court has noted a defendant
“may, but is not required to, file a motion requesting permission to proceed by video
teleconference as permitted by General Order 2020-11.”


2.     The clerk’s office informs counsel a video plea can be set for July 22, 2021 at 10
a.m. if done by video. The CARES Act allows video proceedings with a defendant’s consent
and after a court finding that a hearing in that case cannot be further delayed without serious
harm to the interests of justice.


3.     Hazelton has been on bail since June 7, 2021 with conditions including a third party
custodian. ECF # 27. He is living in a small rural New England town not in the state of
Maine. He has not been vaccinated for COVID-19. Coming to court for entry of a guilty plea
requires interstate travel at the height of the summer tourist season and at a time of rising
Delta variant spread of COVID-19. Hazelton’s travel increases the health risk to him and to
those who may come in contact with him. Hazelton’s entry into the courthouse raises the risk

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of Hazelton bringing infection with him, potentially being a risk to others who are in the
courthouse.


4.     The court is beginning the first post-COVID trials and following multiple safety
protocols including limiting the number of cases that can be conducted in person on any
specific day. There is a scarcity of in person courtroom time slots in the next month.
Conducting the Rule 11 in this case meets the “interests of justice” requirement of the
CARES Act as a date to hold the hearing in person likely requires a continuance and speedy
trial extension.


5.     The defense recognizes the significance of the Rule 11 proceeding, but this is not the
sentencing hearing. Counsel has personally met with the defendant and is confident the
defendant understands his rights and that a change of plea by video will be knowing,
voluntary and carry the same significance as an in court Rule 11.


6.     Counsel has conferred with AUSA Craig Wolff who has no objection to proceeding
by video.


       Wherefore Defendant requests this Motion be GRANTED and a video
proceeding for the Rule 11 hearing be scheduled for July 22, 2021 at 10 a.m.


DATE: July 9, 2021                                /s/ David Beneman
                                                  David Beneman
                                                  Attorney for Andrew Hazelton

David Beneman
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                           CERTIFICATE OF SERVICE

      I, David Beneman, attorney for Andrew Hazelton, hereby certify that I have served,
electronically, a copy of the within “UNOPPOSED MOTION TO PROCEED BY
VIDEO” upon Craig Wolff, Assistant United States Attorney, United States Attorney's
Office, Portland, ME and all defense counsel of record via the ECF system.

                                                      /s/ David Beneman
                                                      David Beneman
DATE: July 9, 2021




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